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 EXHIBIT 08
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               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF KANSAS



      PROGENY, a program of Destination )

      Innovations, Inc., CHRISTOPHER           )

      COOPER, ELBERT COSTELLO, MARTEL          )

      COSTELLO, and JEREMY LEVY, JR.,          ) Case No.

      on behalf of themselves and              ) 6:21-CV-01100-

      others similarly situated,               ) EFM-ADM

      Plaintiffs,                              )

      vs                                       )

      CITY OF WICHITA, KANSAS,                 )

      Defendant.                               )

      __________________________________)

                         VIDEOTAPED DEPOSITION OF

                         JEFFERY S. GILMORE

                           December 6, 2022

                                8:31 a.m.



                                Taken at:

                    Joseph, Hollander & Craft

                           500 North Market

                            Wichita, Kansas



      Kathy R. Bonfiglio, CSR-KS, CSR-MO, RPR
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 1    remember what year approximately this was?

 2            A.     I could Google it and get it for you

 3    but it's going to be sometime between '99 and 2002,

 4    probably 2003; that time frame.

 5            Q.     And how do you use the gang list in a

 6    case like that?     Like how do you -- how and when do

 7    you access it.     Do you review associates of his?

 8    Can you just walk me through that.        I'm not sure

 9    I'm familiar with that investigation process.

10            A.     Well, anytime you are familiar with

11    someone and you are investigating someone and you

12    have either prior knowledge of that person or no

13    knowledge of that person and you need to find this

14    person, one of the things that you would do is you

15    would look at the gang database to see if that

16    individual was -- you may know, you may not know

17    but you look to see if they are a documented gang

18    member.   The gang database is a very detailed and

19    articulate set of gathered information about an

20    individual and why they are documented or were

21    documented as an associate and this gang database

22    will tell you things as far as where they have

23    lived, previous addresses, who they hang out with,

24    places they are known to hang out, and this can

25    assist you in your investigation in locating that



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 1    person or finding out information about that person

 2    that could be pertinent to the investigation.              A

 3    lot of times an individual will say I've never seen

 4    that person.       I don't know this guy.      I've never

 5    hung out with that guy and then I can go to the

 6    gang database and say well, he said this but I've

 7    got four different times this individual was seen

 8    with this individual.       It was documented under this

 9    and it's also documented under this case number

10    which the officer gang intel officer put in there,

11    would document that so it's a way to also verify

12    information and assist with the investigation.

13            Q.     Got it.    What was the outcome of that

14    case?

15            A.     Jermain Lowe was found guilty and is

16    serving life in prison.

17            Q.     Okay. I want to jump back a little bit

18    more on your background.        Where did you grow up?

19            A.     Wichita, Kansas.

20            Q.     Okay.    Where in Wichita?

21            A.     I grew up down south.       I grew up at a

22    residence on South Seneca where I lived until I was

23    graduated from high school and then left for the

24    military.

25            Q.     South High School?



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 1    was my job.

 2              Q.     Sure.   Of those many people, would you

 3    say -- how many would you say were self-admits, a

 4    percentage maybe?

 5              A.     Twenty-five percent.

 6              Q.     Of the other 75 percent you received

 7    training on the criteria that have to be met to add

 8    someone to the gang list.         What were the most

 9    common criteria that you would see met and we'll

10    look at the policy later if we need to refresh your

11    memory.    I'm curious if there's any that stand out

12    in hindsight.

13              A.     Being with documented gang members;

14    clothing, hanging out at gang hang outs, committing

15    gang crimes.

16            Q.       What would you define as a gang crime?

17              A.     Drive-by shooting.

18            Q.       Anything else?

19              A.     Depending on the type of crime or the

20    element, certain types fights involving opposing

21    gang members, things of that nature; selling drugs.

22            Q.       And you said gang hangouts.       How would

23    you define a gang hangout?

24              A.     If you know of a residence that is

25    frequented by documented gang members or is owned



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 1    modify? What would you modify about those

 2    trainings?

 3            A.     You would go in because you would pull

 4    up -- some of those slides you would have like

 5    enough documenting gang members within the

 6    community and those numbers obviously would change.

 7    Sometimes they would increase and sometimes they

 8    would decrease; deceased gang members; gang members

 9    in prison, gang members that were killed in gang

10    activity, things like those numbers.         You would

11    adjust those types of numbers to update to make

12    sure that it was current so that you were providing

13    proper and updated information.

14            Q.     So did you give those trainings alone

15    or --

16            A.     I had done them alone and also with

17    other sergeants and detectives.

18            Q.     Do you recall any other instances of

19    taking someone off of a gang list?        You mentioned

20    this one example of this young man, but are there

21    any others that you remember being taken off of the

22    gang list?

23            A.     I never took anybody off the gang list

24    other than that one directed by Chief Ramsay.            Now,

25    I did remove people from being an active gang



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 1    member when they fulfilled the criteria when I was

 2    in gang intelligence.     I never did that as a

 3    supervisor because that's something that gang

 4    intelligence officers do, but as a gang

 5    intelligence officer I did.         I removed them from

 6    being an active gang member.

 7            Q.     When you say removed can you explain

 8    what that looks like in the database?

 9            A.     You switch it to inactive.        It says

10    active, you switch it to inactive.

11            Q.     Got it, and you have to physically go

12    in and do that --

13            A.     You do.

14            Q.     -- at the end of the three years?

15            A.     You have to go in and you do an audit.

16    It is brutal and it is painstaking because you go

17    through every name on that list and you review that

18    name and you review all of the cases and all of the

19    documentation and then the individuals that have

20    fulfilled the three years of inactivity are

21    switched from an active to inactive gang member.

22    They are no longer on the list as an active gang

23    member.

24            Q.     How often do you do the audit?

25            A.     Every year.



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 1            Q.     And it's just the gang intelligence

 2    officers that do it; it's not detectives or

 3    sergeants or lieutenants?

 4            A.     That is correct.

 5            Q.     And how many intelligence officers did

 6    you have in the Gang Unit?

 7            A.     Four.

 8            Q.     Four?

 9            A.     That's why it was brutal.

10            Q.     About how long did it take?

11            A.     Months.

12           Q.     Why was it only intelligence officers

13    doing the audit?

14           A.     Because they have the training

15    experience and the knowledge.

16            Q.     More than detectives?

17            A.     Absolutely.

18            Q.     What different training, experience and

19    knowledge did they have?

20            A.     They deal with it every single day.

21    They deal with the individuals every single day.

22    They are the ones that document, review the TOPS

23    cards and place individuals into the gang database.

24    They have the experience.

25            Q.     Okay. So I want to, I think, take a



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  1   little higher view of the gang database as it

  2   functions within the unit, right?         So you mentioned

  3   earlier that as a lieutenant it was one of your

  4   responsibilities to manage the database but it

  5   sounds like the intelligence officers are the ones

  6   kind of in and out of it all the time.          Can you

  7   elaborate on how the database functions in the

  8   unit?

  9           A.     Well, first of all, you have four

10    people that go in and make changes because that

11    limits -- other people can look at it like the gang

12    lieutenant.     I couldn't modify it, okay, because

13    the less people that can modify it the more control

14    that you have.     You have got four people that can

15    modify that gang database; four people that can add

16    somebody or four people that can make someone

17    inactive.     Okay.   I can only speak about when I was

18    the commander, but that limits access and that

19    helps you maintain your span of control.             So if

20    something is inaccurate or incorrect or wrong, you

21    know what, I know it's one of four people.             But if

22    I've got 12 detectives working for me and they can

23    all go in and make adjustments to the gang

24    database, now we have a problem because I've lost

25    control and that is why it is done that way.



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  1           Q.     Okay. So when officers make changes to

  2   the database, whether it's making someone inactive,

  3   adding additional information, that kind of thing,

  4   is there any kind of notification process in the

  5   unit about any updates that have happened in the

  6   system?

  7           A.     No.

  8           Q.     Did you have any supervisory duties as

  9   it relates to the database itself and the use of

10    it?

11            A.     As far as allowing if we had -- say a

12    gang intelligence officer moved on, transferred

13    out, quit, got promoted, I would make sure

14    administratively that their access to the gang

15    database was terminated and the new person coming

16    on, their administrative functions would be added

17    so that they could do those things.

18            Q.     Anything else?

19            A.     There would be times when we would need

20    administrative purchased items and get things done,

21    updates to the system.        I would authorize that.         I

22    would allocate funds for that; I would arrange for

23    those functions.       I would speak to IT in reference

24    to that.

25            Q.     Anything else?



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  1             Q.     Is the same true for any other time, to

  2   your knowledge?

  3             A.     To my knowledge.

  4             Q.     When you're talking about removing

  5   people from the gang list you are actually talking

  6   about making them inactive on the gang list; is

  7   that right?

  8             A.     That is correct.

  9             Q.     Would that generally only happen during

10    audits?

11              A.     No.    It would happen at other times.

12            Q.       What other times?

13              A.     Say you came across an individual and

14    say you had a case or something involving somebody

15    or witnesses on a list and you had a reason to be

16    looking at pulling that person up and as you are

17    looking at it you would look at the time frames and

18    say, as a gang intelligence officer, you would say,

19    hey, I'm going to look at all this person's

20    criteria, all this information here.              They are

21    approaching the time frame so they are going to be

22    -- with no gang contacts or anything, no negative

23    contacts, here in like November, we're just

24    starting the audit in January.            They fulfilled the

25    requirement so we will move them back now if you



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  1   memorializing that this young man was taken off?

  2            A.     No.

  3            Q.     And you are not aware of any others

  4   that might indicate that?

  5            A.     No, ma'am.

  6            Q.     Okay. I want to go back to the audit

  7   that you mentioned that happens yearly and I want

  8   to in fine detail go through that audit process and

  9   what it looks like as an intelligence officer

10    that's conducting the audit itself.            So what time

11    of year did you say you do the audit?

12             A.     Usually starts right after the first of

13    the year every year.

14             Q.     And what is the first step in an audit?

15             A.     Now, I can only speak about it in past

16    tense.    I can't speak about it now when I was

17    there.

18             Q.     In your time as a gang intelligence

19    officer and as a lieutenant, were they the same?

20             A.     Yes.    You basically you have the list

21    and you would run a list.         We would run a list,

22    print it out.

23             Q.     A list of?

24             A.     Of all the active gang members within

25    the Wichita community that are on the list.               We



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  1   would print that out and there were four of us or

  2   four of them when I was the commander and we would

  3   split that list up so there is an even amount of

  4   names on each list and then it's divided out

  5   amongst the four and you start at the top of your

  6   list and you pull up that name and you research and

  7   do a full background check on that individual.

  8           Q.     So what does research entail?

  9           A.     Well, you would start by running their

10    name in the database, seeing if they have had any

11    police cases or period and if they have you look

12    and see what part they played in that case.            Were

13    they merely a witness; were they a victim in that

14    case or were they a suspect in that case and then

15    you see if their -- and then you read that case to

16    its entirety and then you see if anything, any

17    information in that case meets any of the criteria

18    set forth within the policy if they indeed should

19    remain active or -- and then you document; you

20    would take those events and you would document them

21    in the database and that is one thing you would do.

22            Q.     So one part of the audit is just

23    updating active records.      Say they were on a

24    traffic stop and there was some documentation about

25    a red bandana in their pocket and you read that



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  1   information in the traffic -- you would add that to

  2   their TOPS card?

  3           A.     It all depends on the circumstances.

  4   It doesn't always mean that.        Every situation is

  5   different.     I mean, just because a young individual

  6   or an individual period has a red bandana, that

  7   doesn't mean they are a gang member.          It could be

  8   coupled -- you have to take the totality of all the

  9   circumstance and bring them together and take a

10    look at it.

11            Q.     Okay.   Is there any documentation about

12    guiding intelligence officers through the audit

13    process that's not contained in 527?

14            A.     No, not to my knowledge.

15            Q.     Okay. So the officers interpret the

16    policy and apply it during the audit, but there's

17    not a document kind of outlining step-by-step --

18            A.     No, ma'am.

19            Q.     -- that process.     So when you say every

20    situation is different, it's the totality of the

21    circumstances, how do you find the totality of the

22    circumstances?     How do you determine what those

23    circumstances are?

24            A.     Well, I think a lot of it comes from

25    experience and you know, and I'll use your example



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  1   of a car stop, and you have got an individual that

  2   does have a red bandana, okay, but he's also in the

  3   car with two other individuals who are sporting all

  4   red and then when you are conducting your

  5   background check or you have personal knowledge

  6   because you have dealt with them before and you

  7   know that two of the other people in that car are

  8   documented Blood gang members, and you listen to

  9   the conversations and what is said.         Those are the

10    circumstances that I'm talking about when they all

11    come together and you make your determination.

12            Q.     So when you are conducting the audit

13    you are looking at the officer's report, that's the

14    document --

15           A.     Yes, ma'am.

16           Q.     -- that you are using to determine the

17    totality of the circumstances?

18            A.     Yes.

19            Q.     So that was one task during the audit

20    was updating any cards with any recent potentially

21    gang-related activity.      When you go to move someone

22    to inactive, what is that -- what documents do you

23    look at, what searches do you run.         Walk me through

24    that process on the computer.

25            A.     When you go to switch someone to



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  1   inactive?

  2           Q.     Uh-huh.

  3           A.     Well, first of all, if you are going to

  4   do that that means that you have conducted a

  5   background check and they have not had any gang

  6   involvement; they have not had any gang incidents.

  7   Therefore, they have fulfilled the three-year

  8   requirement and they would be switched to inactive.

  9   So at that point you would go in and you would

10    document the fact that they had no gang related

11    incidents, they had nothing that would meet the

12    criteria of them still being documented as a gang

13    member and on this time and date they are being

14    changed from an active gang member to inactive and

15    then you would put your initials, your ID number

16    and the date.

17            Q.     Okay. So when you say background check,

18    what program are you running that on?          What does

19    the background look like?

20            A.     Just using the same city resources that

21    we would use when you are conducting any

22    investigation.     You are looking at the time

23    e-Justice.     When I was involved with the Gang Unit

24    the e-Justice computer system.        You look at those

25    things.      You look at KDOC, Kansas Department of



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  1   Corrections.       You look at KASPER.      These are all

  2   resources that are available to the public.                These

  3   are all things that anybody could sit down and

  4   bring up on the computer to take a look because we

  5   would utilize that as well for anybody that was

  6   incarcerated.      So those are the things we use, as

  7   well as reports, but you gather those reports from

  8   the police databases that we have access to.

  9           Q.     Okay.   What are those police databases?

10            A.     E-Justice, okay.      You would run

11    e-Justice.

12            Q.     I'm sorry, what does e-Justice stand

13    for?

14            A.     That's a good question.        I called it

15    e-Justice, E-J-I-S. It's something justice.                I

16    don't know.

17            Q.     All right.    So e-Justice?

18            A.     That.   You would also pull up Kansas

19    Department of Corrections, like I said.                That's not

20    necessarily -- I say police database.            The police

21    use it.      We would use that.      We also pick up

22    up KASPER, with a K because that allows and gives

23    you a lot of information of whether or not somebody

24    is incarcerated or not if they have been released.

25            Q.     What kind -- sorry.       When you say you



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  1   pull them up on e-Justice and pull them up on

  2   KASPER.    What results are you getting?        Is it a

  3   result report, a document, a memo.         What are we

  4   working with?

  5           A.     Say I type an individual's name into

  6   e-Justice.     If I just type their name in and you

  7   want -- you are going to get a full link; their

  8   name is going to come up multiple times if they are

  9   in the system and then each time any case that's

10    been made, whether they are a witness, a victim, a

11    suspect, another on a case which just means they

12    happen to be present when something happened but

13    they didn't see anything.      That's going to generate

14    that information and then there's going to be a

15    case and you can click on that, the name and

16    there's going to be a case number associated with

17    that name.     So then you could open that case up,

18    look at it, see what type of case that it is.            You

19    look at their name and see if they are a witness, a

20    suspect or other.     So if they are another, which

21    means they would have an O by their name, you would

22    then would scroll down to the other, pull up their

23    name and you could see their involvement and read

24    about their involvement in the case.          We also would

25    sometimes pull the actual hard written reports



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  1   because those reports that are handwritten weren't

  2   always in e-Justice.         You just have the synopsis

  3   and the taped reports that were called in by other

  4   officers on the scene, but the original report you

  5   would have to pull to get that.         That's another

  6   resource that we would pull to read it to make sure

  7   we had all the information so that we could base

  8   our decision on all the information.           You have to

  9   have everything, not just part of it.           You have to

10    make sure that you look at everything, that you see

11    everything.

12             Q.     So from all the documents that you are

13    looking at from all these different sources -- go

14    ahead.

15             A.     I left something out.      Laser Fish is

16    another program that we use.

17           Q.      Laser Fish?

18             A.    It's called Laser Fish.      It's like where

19    you would like go in and get a copy of the

20    handwritten report.       They are all scanned in.          So

21    if I wanted -- if an officer wrote a report two

22    nights ago and I wanted to get a copy of that, you

23    would go to not e-Justice, not just the data entry

24    program, but the actual handwritten report back

25    when we used to do handwritten reports.               I could go



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  1   in and print that and actually look at his

  2   handwritten report.

  3           Q.     Any other databases?

  4           A.     To my knowledge that's it.

  5           Q.     Okay. So you would go through all that

  6   while doing the audit process and determining

  7   whether somebody should remain active with no

  8   updates, remain active with some updates or be

  9   removed to inactive.      Are those kind of the three

10    options in an audit?

11            A.     Well, you also would change them to

12    incarcerated because a lot of times during this

13    time frame somebody would commit a crime, go to

14    court, be found guilty and incarcerated.             There's

15    also a tab for Incarcerated and there's also a tab

16    for Deceased.

17            Q.     Any other tabs?

18            A.     I believe we've covered the tabs.

19            Q.     Okay, and there's no document

20    describing this process and like how officers would

21    be trained to conduct the audit that you can think

22    of?

23            A.     No, ma'am.

24            Q.     Is there a list of people that you

25    would generate at the end of who fell into what



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  1   category, who remained active, who was changed to

  2   active.      Would you document that?

  3           A.      You would have an idea.     I can --

  4   thinking back when I did the audit myself, you

  5   would know because when you would print it out to

  6   begin with you would run a total list and you would

  7   know X amount number of active; this amount of

  8   inactive; this many incarcerated, this many

  9   deceased and when you got finished with the audit

10    you would do that again and do a numbers

11    comparison.      Okay. We either went up or we went

12    down in active.      We went up or we went down in

13    inactive.      We had X amount of individuals go to

14    prison, and we had 25 gang members murdered last

15    year.

16            Q.     So you compiled the final list of those

17    numbers?

18            A.      Yeah.   We had a list that we presented

19    to the boss and they reviewed it to see where it

20    was at.

21            Q.     If I wanted to find that list now do

22    you know where I could find it?

23            A.      I would have no idea because it's not

24    like something we kept on file.        It is something

25    you would look at and say well, we know we have



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  1           Q.     Does that include family members?

  2           A.     That was a common question that got

  3   asked a lot and that was a problem and I would tell

  4   them, you know what, because I heard that a lot as

  5   far as my cousin is a gang member over here.              I

  6   said well, you have to make a decision.              You are

  7   associating with this individual.         I can't change

  8   what that says.        If you are associating with

  9   someone and they are a gang member it meets part of

10    the criteria is how it was explained to them.

11            Q.     Okay.    Were there any like Gang Unit

12    documents that would define associate in a way that

13    you just described or in any other ways?

14            A.     Not to my knowledge.

15            Q.     I've got similar questions about gang

16    locations and if people would come in and ask about

17    how do I avoid being in a gang location.             What do

18    you consider a gang location; how did you have that

19    conversation with people?

20                   MR. BRANDON: Object to form.

21            Q.     (By Ms. Calvert) You can still answer.

22                   MR. BRANSON:    Well, what are you asking

23    him to answer?     About location or can you --

24            Q.     Can I rephrase?

25                   MR. BRANSON: Please.



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  1           Q.     So I guess I'll start with the

  2   question, how do you define a gang location?

  3           A.     It is not that difficult because we

  4   never used like this intersection or this block

  5   because you know what?      Anybody walks down the

  6   street, anybody can drive down the street and I

  7   think common sense has to come into play here, but

  8   when you are going to a home which is what we use

  9   as far as gang hangouts or locations, when we know

10    this home is directly related to gang violence;

11    when we know that multiple people that are

12    documented gang members all live in this house and

13    then another individual is hanging out at that

14    house, that is a gang location and that is how we

15    determined that.     That is how I determined that.

16            Q.     The residences were typically --

17            A.     Or businesses.       Some businesses in the

18    community were known to be gang, known gang

19    hangouts where certain sets would hang out and

20    that's all that would be in there and you knew if

21    someone from an opposing set went in there, there

22    was going to be a shooting or some type of active

23    disturbance.

24            Q.     So like we said, if it was a family

25    member's house, what would be your advice to their



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  1   parents or those people looking to either become

  2   inactive off the gang list or have their active

  3   status explained?

  4           A.     Well, that can be explained away but

  5   it's also important to understand, ma'am, that's

  6   only one of the three criteria.        Okay.    That's why

  7   there's three sets in the criteria out of the ten

  8   because you could meet one by accident.              You can

  9   meet one by coincidence.      Your cousin is a gang

10    member, your brother is a gang member, your father

11    is a gang member or your grandfather is a gang

12    member.      It happens.   One happens.    But now couple

13    it with two and then couple it with three.              If you

14    have got all three and you meet the criteria of

15    three, that's why it's not just one.          That's why

16    it's three.     So that is the reasoning for that and

17    that is the justification and the way to make sure

18    that someone doesn't get mistakenly identified as a

19    gang member just because they are hanging out with

20    their cousin or their brother that's a gang member

21    because they have to meet two more of those

22    criteria as well.

23            Q.     You mentioned businesses.       Are there

24    specific businesses you can recall as gang

25    locations?



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  1          Q.      Any other businesses?

  2           A.     Specifically the names of them, no, but

  3   there were certain -- and there were certain

  4   parties that would happen in different places that

  5   you knew a lot of the people.

  6           Q.      What kind of places would these

  7   parties happen?

  8           A.      Residences that were known gang

  9   houses.

10            Q.      Okay.   Is this location description

11    that you have given us, is that documented anywhere

12    in the policy?

13            A.      I don't believe so, no.

14            Q.      So how would you new intelligence

15    officers know about what a gang location is?

16            A.      They would be taught on-the-job

17    training.     They would be told about it.           They would

18    ask questions.     There would be discussions as far

19    as does this meet the criteria and why and it would

20    be explained to them and articulated.

21            Q.      Is there any way for the public to

22    know what the police considered gang locations?

23            A.      No.

24            Q.      All right.   I've got the same

25    questions for colors.      What do you consider gang



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  1   colors?

  2             A.     Nowadays not much because it's pretty

  3   much non-existent.        I mean, I shouldn't say

  4   non-existent but it's not near as prevalent as it

  5   was back in the early '90s when it was huge.                But

  6   you had your North Carolyn blue.          Okay.        If you

  7   wore North Carolina blue you were a Crip; you were

  8   a neighborhood Crip.        Then you have got a darker

  9   blue.     Then you have got your red obviously which

10    is your Bloods.         You have got your green which is

11    your Junior Boys.        You've got your black, which is

12    your Surenos.       You have got red and brown which is

13    your Nortenos.       You have got yellow which is

14    associated with Asian gangs; Asian Boys, Viet Boys

15    and so forth.       You have got just -- I think I've

16    covered all the colors.

17            Q.       I was just going to say is there any

18    orange?

19              A.     There is orange and orange was also

20    covered with the Northside Gangsters which was the

21    Nortenos, which is the Hispanic gangs.

22            Q.       And all those were present in Wichita

23    when you were an intelligence officer?

24              A.     Yes.

25            Q.       Were they also when you were a



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  1   this informal conversation; correct?

  2             A.     Yes.

  3            Q.      Was there ever a time where you just

  4   had a meeting and you instigated kind of this

  5   informal training to talk about definitions?

  6             A.     Yes.    Like prior to starting the audit

  7   --

  8            Q.      Okay.

  9            A.      I would have all the officers into my

10    office, the gang officers sit down and say hey,

11    we're starting the audit Monday --

12           Q.        Uh-huh.

13             A.      And we're going -- get your list

14    printed out, get them divided up and come see me

15    and I want to see exactly how many are on the list

16    right now and then we're going to set a deadline up

17    so that we have this done in a timely manner so we

18    can get you guys back on the streets.

19             Q.      Sure.   So that's the procedure of the

20    audit.    Was there additional training about the

21    content of the audit?

22              A.     I think there may have been some

23    additional comments like if you had brand new gang

24    intelligence officers, explaining to them how the

25    audit would work and the process, but the majority



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  1   of that took place between that new officer and the

  2   veteran gang intelligence officer who had been on

  3   the team awhile.

  4           Q.     So the peer training, not top down

  5   training?

  6           A.     That is correct; yes, ma'am.

  7           Q.     Were those conversations ever

  8   documented, those trainings ever memorialized in

  9   any way?

10            A.     No.

11            Q.     Were you aware of during any of your

12    time at WPD, of concerns from other WPD members

13    about the gang database; about how it was run or

14    Policy 527?

15            A.     No.

16            Q.     You weren't aware of any concerns,

17    whether in writing or kind of general gossip?

18            A.     Can I ask a question?

19            Q.     Sure.

20            A.     What is the time frame on this?

21            Q.     Your entire time at WPD.

22            A.     Once recently.

23            Q.     Can you describe that for me?

24            A.     Very briefly, because I don't have a

25    lot of knowledge on it, but there was talk about it



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